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                                                       UNITED STATES BANKRUPTCY COURT
                                                      MIDDLE DISTRICT OF NORTH CAROLINA

 In Re:                                                                          )
               Christy Marie Ready                                               )        Case No.
               18711 Ruffner Drive 2-H
                                                                                 )        Chapter 13
               Cornelius, NC 28031
                                                                                 )
                                                                                 )
                                                                                 )
                                                                                 )
                                                                                 )
                                                                                 )
                                                                                 )
 SS#           xxx-xx-4264                                                       )
 SS#                                                                             )
                                                    Debtor(s)                    )



                                                 NOTICE TO CREDITORS AND PROPOSED PLAN



The Debtor(s) filed for relief under Chapter 13 of the United States Bankruptcy Code on February , 2015 .

The filing automatically stays collection and other actions against the Debtor, Debtor's property and certain
co-debtors. If you attempt to collect a debt or take other action in violation of the bankruptcy stay you may be
penalized.

Official notice will be sent to creditors, which will provide the name and address of the Trustee, the date and time
of the meeting of creditors, and the deadline for objecting to the plan. The official notice will include a proof of
claim form.

A creditor must timely file a proof of claim with the Trustee in order to receive distributions under the plan. The
Trustee will mail payments to the address provided on the proof of claim unless the creditor provides another
address in writing for payments. If the proof of claim is subsequently assigned or transferred, the Trustee will
continue to remit payment to the original creditor until a formal notice of assignment or transfer is filed with the
Court.




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                                                                     CHAPTER 13 PLAN SUMMARY


            The Debtor proposes an initial plan, which is subject to modification, as follows:

I.          Plan Payments

            The plan proposes a payment of $100.00 per month for a period of 60                    months. The Debtor shall commence payments
            to the Trustee within thirty (30) days from the date the petition was filed.

II.         Administrative Costs

            1.       Attorney fees.
                     The attorney for the Debtor will be paid the base fee of $3,700.00. The Attorney has received $ 500.00 from the
                     Debtor pre-petition and the remainder of the base fee will be paid monthly by the Trustee as funds are available, after
                     scheduled monthly payments to holders of domestic support obligations and allowed secured claims.
                     The Attorney for the Debtor will file application for approval of a fee in lieu of the presumptive fee.

            2.       Trustee costs. The Trustee will receive from all disbursements such amount as approved by the Court for payment of
                     fees and expenses

III.        Priority Claims

            All pre-petition claims entitled to priority under 11 U.S.C. § 507 will be paid in full in deferred cash payments unless
            otherwise indicated.

            1.       Domestic Support Obligations ("DSO")

            a.            None

            b.       The name, address, and phone number, including area code, of the holder of any DSO as defined in § 101(14A) is as
                     follows:

 Name of DSO Claimant                          Address, city, state & zip code                                        Telephone Number


            c.       All post-petition DSO amounts will be paid directly by the Debtor to the holder of the claim and not by the Trustee.

            d.       Arrearages owed to DSO claimants under 11 U.S.C.§ 507(a)(1)(A) not presently paid through wage garnishment will
                     be paid by the Trustee as follows:

 Name of DSO Claimant                                                       Estimated Arrearage Claim                       Monthly Payment


            2.       Other priority claims to be paid by Trustee

 Creditor                                                                                                             Estimated Priority Claim
 Employment Security Commission                                                                                                            $0.00
 IRS                                                                                                                                       $0.00
 Mecklenburg County Tax Collector                                                                                                          $0.00
 North Carolina Dept. of Revenue                                                                                                           $0.00




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IV.         Secured Claims

            1.       Real Property Secured Claims

            a.            None

            b.       All payments on any claim secured by real property will be paid by the Trustee unless the account is current, in which
                     case the Debtor may elect to continue making mortgage payments directly. Arrearage claims will be paid by the
                     Trustee as separate secured claims over the term of the plan, without interest.

 Creditor                                Property Address                        Residence or      Current        Monthly       Arrearage     If Current
                                                                                 Non-residence      Y/N           Payment        Amount        Indicate
                                                                                    R/NR                                                     Payment by
                                                                                                                                            Debtor (D) or
                                                                                                                                             Trustee (T)


            2.       Personal Property Secured Claims

            a.            None

            b.       Claims secured by personal property will be paid by the Trustee as follows:

 Creditor                       Collateral                               Secured Purchase        Under-secure Pre-confirmat Post-confirma Proposed
                                                                         Amount Money              d Amount ion adequate       tion Equal Interest
                                                                                   Y/N                           protection      Monthly    Rate
                                                                                                               payment per        Amount
                                                                                                               § 1326(a)(1)        (EMA)


            The Trustee will disburse pre-confirmation adequate protection payments to secured creditors holding allowed purchase
            money secured claims. Claims having a collateral value of less than $2,000.00 will not receive adequate protection payments.

            To the extent that the valuation provisions of 11 U.S.C. § 506 do not apply to any of the claims listed above, the creditor's
            failure to object to confirmation of the proposed plan shall constitute the creditor's acceptance of the treatment of its
            claim as proposed, pursuant to 11 U.S.C. § 1325(a)(5)(A).

            3.       Collateral to be Released

            The Debtor proposes to release the following collateral:

 Creditor                                                                             Collateral to be Released
 -NONE-

            4.       Liens to be Avoided

            The Debtor pursuant to 11 U.S.C. § 522 proposes to avoid the following liens on property to the extent that such liens impair
            the Debtor's exemption:

 Lien Creditor                                                                        Property
 -NONE-

V.          Co-Debtor Claims

            The Debtor proposes to separately classify for payment in full the following claims for consumer debts on which an
            individual is liable with the Debtor:

 Creditor                                                            Co-Debtor                                  Interest Rate         Monthly Payment
 -NONE-


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VI.         General Unsecured Claims Not Separately Classified

            General unsecured claims will be paid on a pro-rata basis, with payments to commence after priority unsecured claims are
            paid in full. The estimated dividend to general unsecured claims is 1 %.

VII.        Executory Contracts/Leases

            a.            None

            b.       The following executory contracts and/or leases will be rejected:

 Creditor                                                                        Nature of lease or contract


            c.       The following executory contracts and/or leases will be assumed. The Debtor will pay directly all lease payments
                     which come due from the petition filing date until confirmation of the plan. Upon confirmation, payments will be paid
                     as follows:

 Creditor                           Nature of Lease or Contract                   Monthly    Monthly           Arrearage Arrearage        Arrearage
                                                                                  payment    payment            Amount paid by             monthly
                                                                                             paid by                      Debtor           payment
                                                                                              Debtor                      (D) or
                                                                                              (D) or                      Trustee
                                                                                             Trustee                        (T)
                                                                                               (T)
 -NONE-

VIII.       Special Provisions

            a.            None

            b.       Other classes of unsecured claims and treatment

            c.       Other Special Terms : Debtor is not eligible to file a Chapter 7 case due to a previously filed Chapter 7 case.




 Date: February 19, 2015                                                     /s/ John A. Meadows
                                                                             John A. Meadows 13237
                                                                             Attorney for the Debtor
                                                                             Address:         2596 Reynolda Road
                                                                                             Suite C
                                                                                             Winston-Salem, NC 27106
                                                                             Telephone:      336-723-3530
                                                                             State Bar No.   13237




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                                                           UNITED STATES BANKRUPTCY COURT
                                                          MIDDLE DISTRICT OF NORTH CAROLINA

 In Re:                                                                            )
               Christy Marie Ready                                                 )                 NOTICE TO CREDITORS
                                                                                   )                         AND
                                                                                   )                   PROPOSED PLAN
 SS#           xxx-xx-4264                                                         )
 SS#                                                                               )            Case No.
                                                    Debtor(s)                      )




                                                                     CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the Notice to Creditors and Proposed Plan was served by first class mail, postage prepaid, to
the following parties at their respective addresses:

Reid Wilcox
Clerk of Court
U.S. Bankruptcy Court
Middle District of North Carolina
P.O. Box 26100
Greensboro, NC 27402
Kathryn L. Bringle
Chapter 13 Trustee
Winston-Salem Division
Post Office Box 2115
Winston-Salem, NC 27102-2115
American Express
P.O. Box 650448
Dallas, TX 75265-0448
American Express
P.O. Box 650448
Dallas, TX 75265-0448
Bob Park
300 East Court St.
Hinesville, GA 31313
Bryant State Bank
124 West main Ave.
Bryant, SD 57221
Capital One
P.O. Box 71083
Charlotte, NC 28272
Capital one
P.O. Box 85015
Richmond, VA 23285
Card Services (Barclays)
P.O. Box 13337
Philadelphia, PA 19101
Caroline A. Wingate
Attorney at Law
130-B McDowell St.
Charlotte, NC 28204
Chase/Credit One
P.O.B ox 98873
Las Vegas, NV 89193
Credit Bureau
P.O. Box 26140
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Greensboro, NC 27402
Direct Merchants/ Capital One
P.O. box 30258
Salt Lake City, UT 84130-0285
Employment Security Commission
Attn: Bankruptcy
P.O. Box 26504
Raleigh, NC 27611
Fingerhut
P.O. Box 1250
Saint Cloud, MN 56395-1250
First National Credit Card
500 E. 60th St.,
Sioux Falls, SD 57104-0478
First National Credit Card
P.O. Box 5097
Sioux Falls, SD 57117-5097
First Savings Credit Card
500 E. 60th St., N
Sioux Falls, SD 57104
Gregory P. Chocklett
7 Harvey St.
Raleigh, NC 27608
IRS
P.O. Box 21126
Philadelphia, PA 19114
Kia Motors Finance
P.O. Box 660891
Dallas, TX 75266-0891
Mecklenburg County Tax Collector
700 E. Stonewall Street
Charlotte, NC 28202
Merrick Bank
Inquiries/Correspondence
P.O. Box 9201
Old Bethpage, NY 11804
Merrick Bank Corp.
P.O. box 9201
Old Bethpage, NY 11804-9001
Nationstar Mortgage
P.O. Box 199111
Dallas, TX 75219-9111
Navient
3000 Continental Dr.
Newark, DE 19713-4322
North Carolina Dept. of Revenue
Attn: Bankruptcy
P.O. Box 1168
Raleigh, NC 27602-1168
Patrick Ready
c/o Kary O. Watson
Church Watson law, PLLC
20509 North Main St.
Cornelius, NC 28031
Sears Premier Mastercard
P.O. Box 6282
Sioux Falls, SD 57117


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Travis Park
304 Maximus Court
Myrtle Beach, SC 29588
Wells Fargo Dealer Services
P.O. Box 25341
Santa Ana, CA 92799-5341



 Date:       February 19, 2015                                               /s/ John A. Meadows
                                                                             John A. Meadows 13237




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